                              United States Court of Appeals
                                     For The Eighth Circuit
                                     Thomas F. Eagleton U.S. Courthouse
                                     111 South 10th Street, Room 24.329
                                    St. Louis, Missouri 63102
                                                                             VOICE (314) 244-2400
Michael E. Gans
                                                                               FAX (314) 244-2780
 Clerk of Court
                                                                             www.ca8.uscourts.gov

                                        December 22, 2023


Jason B. Aamodt
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Suite 200
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233 S. Detroit Avenue
Tulsa, OK 74120

         RE: 22-3518 Benjamin Folta v. Norfork Brewing Company, et al

Dear Counsel:

       The court has issued an opinion in this case. Judgment has been entered in accordance
with the opinion.

        Please review Federal Rules of Appellate Procedure and the Eighth Circuit Rules on post-
submission procedure to ensure that any contemplated filing is timely and in compliance with the
rules. Note particularly that petitions for rehearing and petitions for rehearing en banc must be
received in the clerk's office within 14 days of the date of the entry of judgment. Counsel-filed
petitions must be filed electronically in CM/ECF. Paper copies are not required. Except as
provided by Rule 25(a)(2)(iii) of the Federal Rules of Appellate Procedure, no grace period for
mailing is allowed. Any petition for rehearing or petition for rehearing en banc which is not
received within the 14 day period for filing permitted by FRAP 40 may be denied as untimely.

                                                           Michael E. Gans
                                                           Clerk of Court

RMD

Enclosure(s)

cc:      Clerk, U.S. District Court, Western Arkansas
         Daniel D. Ford
         Josh Sanford

            District Court/Agency Case Number(s): 3:21-cv-03038-CDC




      Appellate Case: 22-3518      Page: 1          Date Filed: 12/22/2023 Entry ID: 5347312
